Case 4:18-cr-06054-EFS         ECF No. 289-1       filed 04/05/22    PageID.7535 Page 1 of 4

                                    Thomas E. McNalley, MD
            Board Certified, Adult and Pediatric Physical Medicine and Rehabilitation
                                Hospice and Palliative Medicine
                                      5666 La Salle Avenue
                                       Oakland, CA 94611

NAME OF EVALUEE: Sami Anwar

DATE OF BIRTH: 10/03/1978

REPORT DATE: November 21, 2021

REFERRAL QUESTION: Mr. Anwar has requested compassionate early release from prison. I
have been asked to assess his risk of becoming infected with Covid-19, and whether he is at
higher risk of severe disease including prolonged disability or death, should he become
infected. I am also requested to evaluate whether medical treatment has been offered to him
in a timely manner, particularly in relation to his diagnosis of papillary thyroid cancer.

QUALIFICATIONS FOR REFERRAL: I am a physician who holds board certifications in adult and
pediatric physical medicine and rehabilitation and in hospice and palliative medicine. I serve
as associate professor of pediatrics at the University of California, San Francisco. Previously I
was associate professor of rehabilitation medicine at the University of Washington. I care or
have cared for pediatric and adult patients at end of life or with chronic, complex conditions.


SOURCES OF INFORMATION:
   • Review of Bureau of Prisons Medical Records from 2020-2021, approximately 209 pages

CASE BACKGROUND:
Mr. Anwar is a 43-year-old male currently incarcerated at the Sheridan Federal Prison facility.
BOP medical records document that he has papillary thyroid cancer, type 2 diabetes mellitus, a
history of at least one documented panic attack and anxiety disorder, and recurrent headaches.
He has not received a Covid-19 vaccine, having refused it for reasons that are not documented
in records I have to review.
Mr. Anwar noticed swelling on the left side of his neck as early as the fall of 2019. The swelling
worsened and led to further medical evaluation. I do not have specific records of BOP
evaluation from 2019 through April of 2021 so it is not clear what if any evaluations were
undertaken. He did have a CT scan of his neck in April 2021 which showed possible mass on the
thyroid and other areas of abnormality. To clarify the diagnosis, a fine needle aspiration (FNA)
biopsy was done on June 18, 2021. The FNA pathology report indicated that he has papillary
thyroid cancer. On July 8, 2021, he was evaluated by Dr. O’Brien, an oncologist who
recommended: 1. evaluation by an otolaryngologist 2. Another CT scan and 3. A whole-body
PET scan to evaluate for metastases. Mr. Anwar was then seen on August 2nd by Dr. Zald, an
otolaryngologist, who recommended that Mr. Anwar “see a surgeon in the thyroid surgery
program at OHSU as soon as possible.” The CT requested by Dr. O’Brien on July 8th was done
on August 17th. Amongst the records submitted to me, there is no documentation that Mr.
Case 4:18-cr-06054-EFS        ECF No. 289-1       filed 04/05/22   PageID.7536 Page 2 of 4




Anwar has seen a surgeon yet. Per the narrative Mr. Anwar provided, he has started to take
medications for his thyroid cancer, but I do not have records of what these are nor who
prescribed them.
Mr. Anwar has a history of anxiety and had a documented panic attack in April of 2021. He had
a subsequent visit to the emergency department of Willamette Valley Medical Center on
August 17, 2021 with concern for left body numbness and difficulty breathing. He is not
currently on any medications for anxiety. He did request to enroll in the Resolve Psychology
Treatment Program. There is no documentation related to his participation in that program.

He has the diagnosis of type 2 diabetes and has been prescribed both metformin and glipizide.
It is not clear that he is currently taking these. He had a hemoglobin A1c test done in April of
2021 which showed an elevated value (5.7%) consistent with type 2 diabetes.


DIAGNOSES RELATED TO OPINION:
   • Papillary thyroid carcinoma
   • Type 2 diabetes mellitus
   • Unimmunized against Covid-19

RECOMMENDATIONS AND EXPLANATION OF OPINION:

Part 1: Risk for Covid-19 infection and for more serious infection in Mr. Anwar’s case.

Mr. Anwar is at risk for Covid-19 infection because he is not immunized. Furthermore, he is at
increased risk of having a severe clinical course which could include long-term hospitalization,
persistent damage to vital organs including lungs, heart and brain (so-called “long covid”) and
death because of his underlying medical conditions.

Unimmunized persons are at much higher risk for becoming infected, and for having serious
illness. Data from a recent study conducted by Kaiser Permanente in Oregon and Washington
used Independent Risk Ratios (IRRs) and showed that “overall incidence [of Covid-19] was 30.1
per 1,000 unvaccinated persons and 8.7 per 1,000 vaccinated persons (IRR = 3.5). IRRs across
most strata indicated that incidence was at least three times higher among unvaccinated than
among vaccinated persons.”

The American Diabetes Association website states that “people with diabetes are more likely to
have more severe symptoms and complications when infected [with Covid-19].”
(https://www.diabetes.org/coronavirus-covid-19/how-coronavirus-impacts-people-with-
diabetes, accessed 10/12/21) Elevated blood sugars are the hallmark of diabetes, and in general
the higher the blood sugar, the more likely a person with diabetes will experience negative
health consequences. These consequences include changes to blood vessels that can
predispose to heart disease or stroke, damage to the eyes (retinopathy) and poor healing from
wounds. Persons with diabetes also have decreased immune response and may become sick
Case 4:18-cr-06054-EFS         ECF No. 289-1       filed 04/05/22    PageID.7537 Page 3 of 4




more easily than others. As noted above, Mr. Anwar had an elevated hemoglobin A1c in June of
this year, which is a marker of increased blood sugars over the 3 months prior to testing.

Persons over the age of 40 are at greater risk of severe outcome if they contract Covid-19. Mr.
Anwar is 43 years’ old. In the 40-49-year-old age group, a person is two times more likely to be
hospitalized and ten times more likely to die of Covid-19 than a person in the 18-29-year-old
group. (https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-
discovery/hospitalization-death-by-age.html.)

Congregate living settings such as prisons and nursing homes are particularly high risk for Covid-
19 transmission. In the state of Oregon, for example, 1 in 4 prisoners tested positive for covid,
which is 5 times the overall rate in the state. 1 in 344 prisoners died, which is 4.4 times the rate
of death in Oregon. (https://www.themarshallproject.org/2020/05/01/a-state-by-state-look-at-
coronavirus-in-prisons, accessed 11/3/2021).

“Having cancer can make you more likely to get severely ill from COVID-19,” as stated on the
CDC website. (https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
with-medical-conditions.html, accessed 11/28/2021). Mr. Anwar’s thyroid cancer diagnosis
places him generally in this category. If he is also on certain chemotherapeutic agents, he
would be at even higher risk. That information is not available in the records submitted.

Part II: Delays in care having an adverse impact on Mr. Anwar

There is evidence of Mr. Anwar not receiving care in a timely fashion for a new diagnosis of
cancer.
Mr. Anwar has experienced deleterious delays in care. He has had throat swelling for over 2
years and had abnormalities noted on CT scan in April of this year. It took another two months
before he received a biopsy. He was then seen by an oncologist 3 weeks later. It took an
additional 4 weeks after that before he saw an ear, nose and throat specialist. As of this
writing, I do not see any documentation that he was ever evaluated by a thyroid surgical
specialist. The implications for his cancer recovery remain to be seen—papillary thyroid cancer
generally responds well to treatment, if the type of thyroid cell involved is responsive to
treatment, or it is detected early and has not spread to other parts of the body.
Additionally, for a person with an anxiety disorder, delays in the diagnosis and treatment of
cancer could cause particularly significant emotional trauma. It is a reasonable medical
conclusion that Mr. Anwar’s panic attack in April and the emergency room evaluation in August
are related to worries about his health generally and his cancer diagnosis specifically.

CONCLUSION:
It is my medical opinion that Mr. Anwar continues to be at risk for Covid-19 infection because of
being unimmunized and his underlying medical conditions, particularly diabetes which impairs
immune function. Should he contract Covid-19, his thyroid cancer, type 2 diabetes, overweight,
and age all place him at higher risk of more severe clinical course which includes prolonged
hospitalization, persistent symptoms and death. If he does not have a medical contraindication,
Case 4:18-cr-06054-EFS        ECF No. 289-1       filed 04/05/22    PageID.7538 Page 4 of 4




he should receive a Covid-19 vaccine as soon as possible. Without an immunization, he will be
most protected from Covid-19 infection if he lives in a non-congregate setting with strict
adherence to social distancing and masking requirements.

Additionally, Mr. Anwar should be receiving timely medical care for his papillary thyroid
carcinoma. Time from initial presentation of symptoms to diagnosis was 2 years, and after
diagnosis in April of 2021 there is no indication that by November he has seen the appropriate
surgical specialist. The delays he has experienced so far increase his risk for a more deleterious
outcome. His anxiety also appears to have been significantly exacerbated by the delays, and
this is itself a potential source of unnecessary suffering.


Respectfully submitted,

Thomas E. McNalley, MD, MA
Associate Professor, Pediatrics
UC San Francisco
Board Certified in Physical Medicine and Rehabilitation,
Pediatric Rehabilitation Medicine and
Hospice and Palliative Medicine
